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                                          M IN UTE O RD ER                                             Page10
                            M agistrate Judge Lisette M arie Reid
                AtkinsBuildingCourthouse-3rdFloor              Date:1/30/25    Time:1:00p.m.
Defendant: MariaJoseZacariasSaba      J#:C Y>NTeXil case#: 25-CR-20018-MORENO/D'ANGELO
AUSA:          n X a pr                                 Attorney:
violation: IllegalReentryAfterRemoval                       surr/ArrestDate:01/30/25           YOB:1989
Proceeding: lnitialAppearance                                   CJA Appt:
Bond/PTD Held:C Yes C No                 Recommended Bond:
Bond Setat:                                                     Co-signed by:
 IQ
  C Surrenderand/ordonotobtainpassports/traveldocs                       Language'
                                                                                 . * alzé.
 c ReporttoPTSas directed/or                   x'saweek/monthby          Disposition:                             '
      phone:        x'saweek/monthinperson                                               -         -        g
      Random urine testing by Pretrial
 Rr Services
      Treatm ent as deem ed necessary                                     --'             #>
 r Refrain from excessive use ofalcohol                                   -          V
                                                                                     s    YN W          Y
 r Participateinmentalhealthassessment&treatment                           S     -                 X        & #f#
                                                                                                            '   '
 Rr Maintainorseekfull-timeemployment/education                           -                        -
 Nr Nocontactwithvictims/witnesses,exceptthroughcounsel                                                 $
 r Nofirearms                                                              /.r.z
 Rr Nottoencumberproperty                                                 e'
 r M aynotvisittransportation establishm ents
      HomeConfinement/ElectronicMonitoringand/or
      Curfew            pm to             am ,paid by
      Allow ances:M edicalneeds,courtappearances,attorney visits,
      religious,em ploym ent
 Rr Travelextendedto:                                                      yjmefromtodayto             excluded
 XC Other:                                                                 fromSpeedyTrialClock
NEXTcouRTAPPEARANCE     Date:              Tim e:          Judge:                         Place:
ReportRECounsel: JIV
PTD/BondHearing: >lM                         /9'0*                                           K -
Prelim Arraign rRemoval'
                       .J
StatusCon erence RE:
D
                           9 :1(.ô *
                                 -                                  Time in court: /s-       -
 .  A.R.t5 :s&l
                                s/tisette M arieReid                                     M agistrateJudge
